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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF SOUTH DAKOTA
                                WESTERN DIVISION



  IN THE MATTER OF THE SEARCH OF:                      Case No.
  PERSON OR BODY OF COLTON BAGOLA, TO
  CONSIST OF BUCCAL SWABS.                             FILED UNDER SEAL
                                                       REDACTED
                                                       AFFIDAVIT IN SUPPORT
                                                       OF APPLICATION FOR A
                                                      SEARCH WARRANT

  STATE OF SOUTH DAKOTA
                                 )
  COUNTY OF PENNINGTON           )

         I, Matt Weber, Special Agent of the Federal Bureau of Investigation ("FBr),
  being duly sworn, deposes and states under penalty of peijury that the following
 is true to the best of my information, knowledge and belief.

                   INTRODUCTION AND AGENT BACKGROUND

        1.   I am a Special Agent (SA) with the Federal Bureau of Investigation
(FBI), and I am assigned to the Rapid City Resident Agency, Rapid City, South
Dakota. I have approximately nine years of law enforcement experience with the
FBI as a Special Agent. During that time, I have investigated federal crimes

occurring within Indian country, including violations of 18 U.S.C. §§1111(a) and
1153, Second Degree Murder, and 18 U.S.C. §§ 3 and 1153, Accessory after the
Fact.


        2.   The information set forth below is based upon my knowledge of an
investigation conducted by the FBI and the investigation of other law enforcement

agents and officers. I have not included each and every fact obtained pursuant to
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this investigation, but have set forth those facts that I believe are essential to

establish the necessaiy probable cause for the issuance of the search warrant.

      3.      I affirm that I am an "investigative or law enforcement officer" within

the meaning of 18 U.S.C. § 2510(7), and authorized by law to conduct
investigations and make arrests for offenses in Titles 8, 18 and 21 of the United

States Code. I am a "Federal law enforcement officer" within the meaning of Fed.
R. Grim. P. 41(a)(2)(C) and (b).

      4.      I make this affidavit in support of an application for a search warrant

for buccal swabs of the person of Colton Bagola.

      5.      The facts in this affidavit come from my personal observations, my
training and experience, and information obtained from other agents and
witnesses. This affidavit is intended to show merely that there is sufficient
probable cause for the requested warrant and does not set forth all of my
knowledge about this matter.

                    FACTS IN SUPPORT OF PROBABLE CAUSE

       6.      On December 17, 2019, at approximately 3;05AM, Tasheena Jones

 called the Oglala Sioux Tribe Department of Public Safety Dispatch(GST DPS)to
 report a shooting incident in North Ridge Housing, Pine Ridge, SD. Jones hung
 up before an exact location could be gathered. At approximately 3:39 AM, your
 affiant learned from a review of GST DPS Dispatch records that a female,
 Casandra Goings, called to report Sloane Bull Bear was shot at Bill Reddy's
 residence,                        North Ridge Housing, Pine Ridge, SD.
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      7.    OST DPS law enforcement officers arrived on scene and found the

victim, Sloane Bull Bear, Date of Birth             deceased on the southwest

exterior of the residence. On December 18, 2019, your affiant attended the

autopsy of Bull Bear, which was conducted by Forensic Pathologist Dr. Donald

Habbe. The cause of death was from a gunshot wound to the back of his head.

Your affiant learned from Dr. Habbe that the wound contained stippling,
meaning that the firearm was in very close proximity to the back of Bull Bear's

head before discharging.

      8.    Your affiant learned that SA Thayer interviewed a witness, Casandra

Goings, on December 17, 2019. FBI SA Kevin Seymore interview Goings later on
the morning of December 17, 2019, and your affiant interviewed Goings on
December 18, 2019. Your affiant learned from Goings that Bull Bear contacted

her via Facebook Messenger sometime prior to the evening of December 16,
2019. After Bull Bear contacted Goings, the pair traveled to Pine Ridge and went
to Billy Reddy's residence on the evening of December 16 and morning of
December 17, 2019.

     9.     Your affiant learned from Goings that she and Bull Bear arrived at

           North Ridge Housing shortly after midnight on December 17, 2019.

Bull Bear and Goings sat at the kitchen table next to Billy Reddy and Ben

Freeman. According to Goings, within 5-10 minutes after sitting at the kitchen

table, Colton Bagola and an unknown male walked into the residence. Goings
described the unknown male as a "cowboy." Your affiant learned that Ben
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Freeman later identified the cowboy as Jesse Buckman. Your affiant learned

from SA Seymore that Goings told him that Bagola arrived while she was outside

and that she and Bagola walked into the residence at about the same time.

       10.   Your affiant is aware that Goings told SA Thayer that while inside,

her chair broke,^ causing her to move to the center of the room. Goings said

that Bagola kept staring at her while the group was in the kitchen. Your affiant

learned from SA Thayer that Goings told him that they were drinking at the

residence. Goings said that the group was talking about"haircuts," and that Bull

Bear asked Goings if she was ready to leave. Your affiant learned from Goings
that she and Bull Bear got up to exit the residence through the southwest door.

Goings told your affiant that she heard a pop as she was leaving the residence,
and that the next thing she saw was Bull Bear on the ground,"snoring." Goings
told your affiant that she left the residence and went to Tasheena Jones'

residence, along with Reddy and Thelma Ponds. Your affiant learned from

Goings that Reddy drove the threesome to Jones'residence. Your affiant is aware

that Goings told SA Thayer that she saw Ben Freeman and Colton Bagola
running down the street away from Billy Reddy's residence. At Jones'residence,

Goings spoke with Reddy and Ponds. Goings said that Billy told her that Colton

told Reddy that he (Bagola) was "wanting to kill somebody." Your affiant learned

from SA Thayer that Colton told Billy that he had a ".38"(caliber handgun). Your


1 Your affiant learned from a review of the audio interview with SA Thayer that
Goings stated at different times that the chair broke and almost broke.
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 affiant is also aware that Goings told SA Thayer she did not know if Bull Bear

had a gun, but he mentioned that they should "let some off," a term your affiant
 believes is a reference to shooting.

       11.   Your affiant is aware, according to Goings, that she called 911 at

approximately 1:28 AM and that the called failed. Goings also told your affiant
that she called back later and spoke with law enforcement upon their arrival.
Your affiant is aware that OST DPS records show Goings calling at 3:39 AM,
approximately 2 hours after she first attempted to call 911. Your affiant asked

Goings why she waited 2 hours from the time the shooting took place until she
called 911 again. Goings told your affiant that Ponds and Freeman were

scrambling around looking for their things. Your affiant asked Goings if they
were gathering their "dope," to which Goings responded that she did not see the

dope, but believed that was possible.

       12.   Your affiant learned that SA Thayer entered the residence to conduct

a protective sweep of the residence upon his arrival to                  After your
affiant's arrival on scene, your affiant obtained a search warrant of the residence.

Your affiant observed blood in the kitchen and a blood trail from the kitchen and

continuing out towards the south side of the residence. Your affiant also saw a

broken chair near the door, next to Bull Bear's legs. (Bull Bear's head, chest
and left leg were outside the residence and his right leg was inside the residence.

Bull Bear's left shoe was on his foot and his right shoe was off and next to his

right foot inside the house.). Your affiant observed what appeared to be a blood
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trail in the kitchen and leading towards the living room of the residence. Your

affiant also observed various bottles on the table in the kitchen. Your affiant

collected multiple blood swabs from the floor of the residence, cigarette butts
from the interior and exterior of the residence, two plastic bottles. Your affiant
believes that this evidence may contain DNA evidence and can identify the
individuals present at              North Ridge Housing.
       13.   On December 20, 2019, your affiant learned that Billy Reddy had
been arrested by the GST DPS and was in custody at the Justice Center in Pine

Ridge. Your affiant interviewed Reddy that same day. Reddy stated that Bagola
shot Bull Bear at             North Ridge Housing. Reddy told your affiant that
Bagola had arrived at               prior to Bull Bear arriving and that Bagola
pulled out a silver revolver and placed it on the table. According to Reddy, Bagola
was acting weird and stated he "needed to take a soul." Reddy stated that Bagola
said that it was going to be either. Scud Martin (a/k/a Dale Martin Junior), Ben
Freeman, Reddy or himself (Bagola). Bagola then left and returned after Bull

Bear and Goings arrived at                   According to Reddy, Bagola and a
"cowboy^ type guy showed up. Your affiant learned that Bull Bear got up to leave
and that Bagola "whipped" out a gun and shot Bull Bear. Your affiant learned

that Reddy believed the bullet missed Bull Bear, but that when Bull Bear

slumped over and started bleeding, that he then believed Bull Bear had been

shot. Your affiant learned that Goings drove Bull Bear's white car to Oglala, SD,
where they attempted to make a 911 call to police. The call would not go through,

                                       6
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so they turned around and went to Tasheena Jones' residence in Pine Ridge.
Your affiant learned that Reddy told him that Goings then left and called 911.

       14.   Your affiant interviewed Bagola on December 20, 2019. Bagola

denied being at               during the time Bull Bear was shot. Bagola also
denied knowing who Bull Bear was and stated that he only knew a female named

Sloane. Bagola said he was set up by the

       15.   On December 20, 2019, your affiant interviewed Ben Freeman.

Freeman told your affiant that he was at              during the homicide. Your

affiant learned that Freeman had his head down during the time Bull Bear got
up to leave, but that he heard the gun go off and saw Bull Bear on the ground
following the shooting. Freeman told your affiant that after the shooting he saw
Bagola take off running and that Bagola had a gun in his hand. Your affiant

learned that Freeman took off to the "old folks" home and waited there until an

unknown time when he eventually went to his girlfriend's house. Your affiant

learned that Freeman told him that Bagola often pulls out the silver gun and
play with it. Freeman identified the "cowboy" as Jesse Buckman.

      16.    Based upon your affiant's training and experience, your affiant is

aware that evidence in the form of deoxyribonucleic acid is contained in the head

hair, skin, semen, blood, and saliva in human bodies. Head hair, skin, semen,
blood and other substances can be left behind by individuals who come into

contact with items left at a crime scene. The head hairs, saliva, blood and other

substances can be tested for DNA.
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       17.   Based on yoiir affiant's training and experience, your affiant is aware
that at least two buccal swabs for saliva,from inside the cheek, are needed in order
for a laboratory to perform an accurate comparison to the DNA that may be
identified on evidence collected from the scene.

       18. Your affiant is aware that Bagola is an enrolled member of the Oglala
Sioux Tribe and that the location where the homicide occurred, Pine Ridge, SD,
is within the exterior boundaries of the Pine Ridge Reservation.

                  REQUEST/JUSTIFICATION ORDER TO SEAL

      19. I further request that the Court order that all papers in support of
this application, including the affidavit and search warrant, be sealed in that the
search warrant is part of an investigation. These documents discuss an ongoing
criminal investigation that is neither public nor known to all of the targets of the
investigation. Accordingly, there is good cause to seal these documents because
their disclosure may seriously jeopardize the investigation.

                                  CONCLUSION

      20. Based on the foregoing, I request that the Court issue the proposed
search warrant.


      21.    Based on the foregoing, I submit there is probable cause to believe
that the buccal swabs taken from Colton Bagola can be used to determine
whether Bagola's DNA is at the scene of the crime. I submit there is probable
cause to believe violations of 18 U.S.C. §§ 1111(a) and 1153, Second Degree
Murder, and 18 U.S.C. §§ 3 and 1153, Accessory after the Fact, have occurred

                                        8
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and I request a search warrant be issued authorizing the search and seizure of

buccal swabs from the body or person of Colton Bagola.



                                            Matt Weber, Special Agent
                                            Federal Bureau of Investigation


Sworn to before me and: ^^^gned in my presence.
                             O submitted, attested to, and acknowledged by
reliable electronic means.

      This 6th day of Januaiy, 2020.



                                            Daneta Wollmann
                                            United States Magistrate Judge
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                            ATTACHMENT A

                          Items to Be Searched


 Person or body of Colton Bagola, to consist of buccal swabs.
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 AO 106(Rev, 04/10) Application for a Search Warrant



                                      United States District Court
                                                                    for the
                                                           District of South Dakota


               In the Matter of the Search of
         (Briefly describe the property to be searched
          or identify the person by name and address)
                                                                                Case No.
PERSON OR BODY OF COLTON BAGOLA. TO \
             CONSIST OF BUCCAL SWABS

                                             APPLICATION FOR A SEARCH WARRANT

          I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that 1 have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
  Person or body of Colton Bagola, to consist of buccal swabs, as further described in Attachment A, which is attached to
  and incorporated in this Application and Affidavit.
located in the                                    District of        South Dakota           ,there is now concealed (identify the
person or describe the property to be seized)'.

  Person or body of Colton Bagola, to consist of buccal swabs, as further described in Attachment A. which is attached to
  and incorporated in this Application and Affidavit.
          The basis for the search under Fed. R. Grim. P. 41(c) is (check one or more):
                 sf evidence of a crime;
                 isf contraband, fruits ofcrime, or other items illegally possessed;
                 sT property designed for use, intended for use, or used in committing a crime;
                 □ a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:

             Code Section                                                       Offense Description
        18U.S.C. §§ 1111(a) and                   Second Degree Murder
        1153
        18U.S.C. §8 3 and 1153                    Accessory after the Fact
          The application is based on these facts:



          fif Continued on the attached sheet.
          □ Delayed notice of                  days (give exact ending date if more than 30 days:                   ) is requested
               under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.



                                                                                           Applicant 's signature

                                                                                           FBISA Matt Weber
                                                                                           Printed name and title

Sworn to before me and signed in my presence.

Date:     /-4
                                                                                             Judge's signature

City and state: Rapid City, SD                                                Daneta Wollmann. U.S. Magistrate Judge
                                                                                           Printed name and title
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AO 93 (Rev. 11/13)Search and Seizure Warrant




                                           United States District Court
                                                                             for the

                                                                  District of South Dakota


                   In the Matter ofthe Search of                               )
              (Briefly describe the property to be searched                    )                                               -
               or identify the person by name and address)                     )        Case No. ^ 7^0
    PERSON OR BODY OF COLTON BAGOLA,TO >                                                                        ^
                CONSIST OF BUCCAL SWABS                                         >

                                                   SEARCH AND SEIZURE WARRANT

To:       Any authorized law enforcement officer
        An application by a federal law enforcement officer or an attorney for the government requests the search
ofthe following person or property located in the                              District of           South Dakota
(identify the person or describe the property to be searched and give its location)'.


      Person or body of Colton Bagola, to consist of buccal swabs, as further described in Attachment A, which is
      attached to and incorporated in this Application and Affidavit.


          1 find that the affidavilfs), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):

         Evidence of a crime of Second Degree Murder, in violation of 18 U.S.C.§§ 1111(a)and 1153, and Accessory after the
      Fact, In violation of 18 U.S.C.§§ 3 and 1153, as outlined in the affidavit ant Attachment A in support of the search warrant,
      which are incorporated herein by this reference.
         15nd that the affidavit, or any recorded testimony, establishes probable cause to search and seize the person or
      property.

          VOU ARE COMMANDED to execute this warrant on or before                                                            (not to exceed 14 days)
      fp in the daytime 6:00 a.m. to 10:00 p.m. D at any time in the day or night because good cause has been established.
        Unless delayed notice is authorized below, you must give a copy ofthe warrant and a receipt for the property taken to the
person from whom,or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
          The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                                    Daneta Wollmann                               .
                                                                                                   (United States Magistrate Judge)

    □ Pursuant to 18 U.S.C. § 3103a(b), 1 find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
       O for                  (not to exceed 30)    O until, the facts justifying, the later specific date of                                         .


Date and time issued:                                      3'^
                                                                                                           Judge's signature


City and State:              Rapid City, SO                                                  Daneta Wollmann, U.S. Magistrate Judge
                                                                                                         Printed name and tUle

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                                                                                                                                   J
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 AO 93 (Rev. 11/13)Search and Seizure Warrant(Page 2)

                                                                  Return
 Case No.:                              Date and time warrant executed:       Copy of warrant and inventory left with:

 Inventory made in the presence of:

 Inventory ofthe property taken and name of any person(s) seized:




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                                                              Certification



        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:

                                                                                    Executing officer's signature


                                                                                       Printed name and title




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